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EXHIBIT P
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September 7, 2020

Dr. Timothy Jackson
Department of Music History, Theory and Ethnomusicology
University of North Texas
Denton, TX 76302

Dear Dr. Jackson,

Your attorney has authorized me to respond directly to you concerning your emails of August
18 and 28 regarding the Journal of Schenkerian Studies. Thank you for your patience while we
worked out the communication protocol with your attorney. I also wanted to ensure I reviewed
all of the correspondence you and your counsel have sent to various UNT and UNT System
officials since your first letter in late July, including your email to your department chair.

The correspondence from you and your attorney ask a number of questions and threaten
litigation against the university. For this reason, I will leave it up to the university’s legal
counsel to respond to the claims and threats your attorney has made on your behalf, and to
answer your lawyer’s questions as he deems appropriate. However, I would like to reply to you
directly to clarify the mistaken belief that the university is investigating you and the Journal of
Schenkerian Studies and the steps you will need to take if you wish to file a grievance.

The university is investigating neither you nor the Journal of Schenkerian Studies. I think it is fair
to presume that we agree the journal is a UNT publication, since it is housed in the Center for
Schenkerian Studies and is funded by the university. As such, the university has an interest in
the complaints about the circumstances surrounding Volume 12 that have come from all
corners, and ensuring the journal meets the standards of a peer reviewed, academic
publication. The university has the discretion, if not the obligation, to look into these
circumstances. A panel of faculty with experience editing peer-reviewed journals has been
appointed to do just that; not to investigate you or the journal, or to look into whether a
particular policy has been violated. Hopefully, this clarification puts an end to the
misinformation and mischaracterization about this matter.

In regards to a grievance, the university’s legal counsel informed your attorney that his letter of
July 31, 2020 did not claim that anyone had taken action, which I presume meant the letter did
not identify a personnel action related to reappointment, tenure, promotion, or a term or
condition of employment against you. In fact, your attorney’s letter stated (1) that there was
an ongoing investigation against you and the journal, which was not correct; and (2) that your
supervisor had “taken no actions to defend [you] against “faculty and graduate
students…organizing to violate [your] constitutional and contractual protections.” In addition,
counsel pointed out that he could not identify the policy under which he was filing a grievance.
I presume he did so because the letter referenced various policies that do not provide for a




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grievance and the complaints he made on our behalf did not fit within the faculty grievance
policy, which your attorney did not mention.
The university’s legal counsel asked your attorney to clarify the policy and basis for a grievance.

In response to that invitation, in letter dated August 8, 2020, your attorney appears to claim
your dean and chair “genuflect[ed] to mob-like accusations of ‘institutional racism’ and clamor
for censoring an academic journal” as grounds for a grievance without stating what action you
believe they took. The letter also accuses your dean and chair of having “taken disciplinary
action against [you] and [your] Journal” without identifying any action they supposedly took.
Subsequently, I learned that in an August 28 email to your chair (with a copy to our dean) you
asked him why you had been “removed from all committees” for the first time in your 22 years
on the faculty. I understand your chair intends to respond to your inquiry.
If you are in disagreement or dissatisfied with an employment-related concern, including
working conditions, environment, relationships with your supervisors or other employees, or a
negative personnel decision, you may pursue a grievance under UNT policy 06.051 (Faculty
Grievance). You can find the policy on the UNT policy webpage at https://policy.unt.edu/policy-
manual. Concerns about equal opportunity, harassment, retaliation and compliance violations
are not addressed under the faculty grievance policy.

On that note, your attorney asked the university to consider whether anti-Semitism may have
motivated some unidentified action toward you. The letter did not expressly allege
discrimination or mention any action that had been taken against you. Nevertheless, if you
believed you have been subjected to discrimination because of your race, ethnicity, national
origin or any other reason that violates the university’s non-discrimination policy, I encourage
you to contact the UNT Office of Equal Opportunity at oeo@unt.edu or (940) 565-2759. I will
forward your attorney’s letter to OEO. You can find the UNT nondiscrimination policy (UNT
Policy 16.005) on the policy webpage as well.

I hope this letter clarifies any misunderstanding regarding how and why the university has
appointed a panel to review Volume 12 and provides you the guidance you need to pursue a
grievance if you wish to do so.

Sincerely,




Jennifer Cowley

cc:     John Richmond, Dean, College of Music
Benjamin Brand, Chair, Division of Music History, Theory and Ethnomusicology



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Michael Allen, Attorney for Dr. Timothy Jackson (via UNT legal counsel)




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